         Case 1:24-cv-04335-DG-TAM Document 4 Filed 06/20/24 Page 1 of 3 PageID #: 19

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7('67$7(6',675,&7&2857
                                                                   IRUWKH
                                                      Eastern District of New York
                                                    BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                          Joel Arroyo,




                            Plaintiff(s)
                                 Y                                           &LYLO$FWLRQ1R 24-cv-4335
      Pinnacle City Living, LLC, and BFC Partners
                   Development LLC,


                           Defendant(s)


                                                    SUMMONS IN A CIVIL ACTION

7R(Defendant’s name and address) See attached rider.




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3  D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Levin-Epstein & Associates, P.C.
                                           Attn: Joshua Levin-Epstein, Esq.
                                                 Jason Mizrahi, Esq.
                                           60 East 42nd Street, Suite 4700
                                           New York, New York 10165


       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
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                                                                                 #3&//" #.")0/&:
                                                                                 CLERK OF COURT


'DWH    06/20/2024
                                                                                           Signature of Cle
                                                                                                        Clerk or Deputy Clerk
          Case 1:24-cv-04335-DG-TAM Document 4 Filed 06/20/24 Page 2 of 3 PageID #: 20

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 24-cv-4335

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                 RQ(date)                             RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                       ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                 RQ(date)                             RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU(specify):
                                                                                                                                            


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




           Print                        Save As...                                                                      Reset
Case 1:24-cv-04335-DG-TAM Document 4 Filed 06/20/24 Page 3 of 3 PageID #: 21

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                              T: 212.792-0046 • E: Joshua@levinepstein.com


                                               RIDER

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  Brooklyn, NY 11213

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  Brooklyn, NY 11213

  BFC Partners Development LLC
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